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                                                                             Michelle R. Guyton, Ph.D., ABPP
                                                                          Board Certified Forensic Psychologist


                   EVALUATION OF KATE AMBER WORK PRODUCT
                                CONFIDENTIAL

Case name:                            Nicholas James McGuffin and S.M. v Mark Dannels, Pat Downing,
                                      Susan Hormann, Mary Krings, Kris Karcher, Shelly McInnes,
                                      Raymond McNeely, Kip Oswald, Michael Reaves, John Riddle, Sean
                                      Sanborn, Eric Schwenninger, Richard Walter, Chris Webley, Anthony
                                      Wetmore, Kathy Wilcox, Craig Zanni, David Zavala, Joel D. Shapiro
                                      as administrator of the Estate of David E. Hall, Vidocq Society, City
                                      of Coquille, City of Coos Bay, and Coos County

Referring attorneys:                  Andrew C. Lauersdorf and Janis C. Puracal of Maloney Lauersdorf
                                      Reiner, PC, and David. B. Owens of Loevy & Loevy

Court number:                         6:20-cv-01163-MTK, United States District Court of Oregon,
                                      Eugene Division

Date of report:                       06/26/2025

Examiner:                             Michelle R. Guyton, PhD, ABPP


Notice
The summaries, conclusions, and opinions written in this report are based on the data available to
the examiners by the date of the report noted above. Information provided to us after the issuance of
this report could result in a modification of this report. Thus, we reserve the right to amend our
report, including my conclusions and recommendations, upon receipt and review of new data.



REFERRAL INFORMATION
I have been retained by the above named attorneys who represent Nicholas McGuffin in the case of
Nicholas McGuffin and S. M. v. Mark Dannels, et al. (case number 6:20-CV-01163-MK). These
attorneys retained my services to provide rebuttal testimony regarding the report of Kate Amber,
MSc who provided a report dated 01/04/2025. Ms. Amber was retained by the defendants in this
case. Per her report, she reviewed documents provided to her by the defendants in order to respond
to the following referral questions identified in her report: “Whether Nicholas McGuffin’s
behaviors are indicative of a pattern of coercive control, and if a pattern of coercive control (by Mr.
McGuffin) can be established by a review of documents related to this case.”



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In response to these referral questions, Ms. Amber provided the following opinion: “Mr. Nicholas
McGuffin’s behaviors and attitudes demonstrate a recurring and severe pattern of abuse in line with
the scholarly literature and legislative regulations established for coercive control and domestic
violence.” Ms. Amber also adds the following “professional opinion that any emotional distress,
psychological impact, and social consequences stemming from his conviction are the sole
responsibility of Mr. McGuffin.”

I was asked to evaluate the scientific reliability and validity of Ms. Amber’s evaluation report. To
this end, I have reviewed the data described below and developed this report to address concerns
about Ms. Amber’s data analysis procedures and related conclusions. Importantly, I did not attempt
to analyze the data to answer the referral questions listed in Ms. Amber’s report. Rather, my work
focuses on analyzing the scientific integrity and merit of her methods and subsequent conclusions.

METHODOLOGY
To prepare the opinions offered in this report, Plaintiffs’ counsel provided me with the records and
materials listed below for my review. Because I am reviewing the work of Ms. Amber, I did not
include any additional resources, such as interviews with collateral parties or other records that she
did not employ. I referred to some additional resources, such as scholarly articles and professional
standards not included in Ms. Amber’s review of records, to substantiate my opinions. However, I
did not review any case-related data beyond what Ms. Amber used in her record review in order to
keep my review centered on her work product. I have divided my review and opinions by the
following sections: 1) Methodology: general and applied concerns, 2) Sources of bias, and 3)
Competency.

RECORDS REVIEWED
For this evaluation, I reviewed all of the documents cited in Ms. Amber’s report that she included in
her analysis. I did not review case-related materials that Ms. Amber did not cite as sources of data
in order to keep my review of information consistent with hers. I also reviewed and relied upon
several research articles and other relevant publications. In Appendix A to this report, I have listed
all of these sources.

METHODOLOGY: GENERAL AND APPLIED CONCERNS
         A. In her report, Ms. Amber described her performance of a “coercive control case analysis”
(CCCA), presumably to answer the first referral question regarding whether or not Mr. McGuffin
exhibited a pattern of coercive control. However, this procedure is not described in her report in any
manner. Further, there is no scholarly publication documenting this or any related method for
analyzing coercive control. Thus, it appears that this “analysis” is not based in any known scientific
principles or methods that experts typically rely upon in their work. Rather, Ms. Amber’s deposition
testimony and her report suggest that this CCCA is her own idiosyncratic procedure and is thus not
published, tested, nor generally accepted in any scientific or clinical communities. Procedures for
developing assessment tools and methods are well-established in the psychological, educational,
and other literatures. This CCCA does not appear to acknowledge or be informed by any of this vast
literature.




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         B. Ms. Amber does not lay out nor describe her process for gathering data for the CCCA. It
is not clear what data is relevant or irrelevant to her analysis, how she catalogs this data, how she
rates the data, and whether she considers data that might be evidence against a pattern of coercive
control. This is of central importance because any method for analyzing data should be reliable and
valid. Reliability means that another person could use the same methods and reach a reasonably
similar conclusion. However, when an idiosyncratic, unspecified, and untested method is used, the
results likely could not be replicated by another professional and thus undermines the validity of the
methodology and any conclusions reached.

        C. Relatedly, there does not appear to be any form of scoring or data counting process
specified in her analysis in her report. During her deposition, Ms. Amber suggested a pattern of
coercive control would be evident if there were two or more different examples of the specific
behavior across the span of decades for which she had records. So, for example, one behavior
observed from a record of Mr. McGuffin’s behavior in 2000 with one person and one other behavior
from 2022 with a different person would be evidence of a pattern, in her view. There is no agreed
upon, studied, or published data regarding this method, and her definition of a pattern is overbroad
to the point of being meaningless. Thus, it is not clear whether there is any reliability (that two
different people employing the analysis would gather and interpret the data the same way) or
validity (that the results mean something) to this method in a foundational or applied manner.

        D. Relatedly, there is a lack of definition of terms. For example, Ms. Amber describes how
Mr. McGuffin “uses trauma-coerced attachment to manipulate his victims.” However, she does not
define what a trauma-coerced attachment style or behavior is, nor what evidence she found of this in
the records. She indicates that the pattern “appears present in McGuffin’s relationships with Leah,
Meagan, Aleksandra, Jazmin, Abbigail, and Georgia” but offers no specific descriptions. The only
example she offers is for Georgia Bartholomew’s mother, with whom Mr. McGuffin had a very
limited relationship and for which there is no evidence of any trauma-coerced attachment.

        E. In an appendix of her report, Ms. Amber listed “case screenings and assessments” that
she utilized in the present analysis. The two screening questionnaires, the Coercive Control
Screening-Individual and Trauma-Coerced Attachment Screening-Individual, were developed by
Ms. Amber’s master’s program mentors in recent years. These screening tools have not been
published in the scientific literature that I could find, suggesting that they have not been used, nor
have the methods or results been evaluated. Thus, there is no scientific basis to support the idea that
these screening tools accurately screen for coercive control. Further, each of these questionnaires is
a screening tool, suggesting that any positive findings indicates the possible presence of coercive
control, not a definitive outcome that it is present. However, she does not indicate what steps she
took after the screening to further investigate whether coercive control was present. In other words,
a screening tool suggests the possible presence of a factor, and additional testing and analysis
should be employed afterwards to determine if that factor is present or not. Ms. Amber does not
define her methods to say what, if any, further investigation she completed to either rule in or rule
out elements of coercive control after providing ratings on these questionnaires.




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        F. Relatedly, Ms. Amber appears to have used two of the “case screenings and assessments”
in ways in which they are not intended and provided incorrect scoring on several items.
Specifically, Ms. Amber provided ratings using the Trauma Coerced Attachment Screen Individual
(TCAS11-I). A review of this questionnaire shows that it is supposed to be answered by a person in
the context of an intimate partner relationship about their partner. Questions are phrased such as,
“My partner was the most important thing in my life when I was with them,” and “I felt obliged to
keep secrets for my partner.” The rating scale goes from 1 (strongly disagree) to 9 (strongly agree).
Ms. Amber is using the questionnaire incorrectly because she is providing ratings, rather than
administering the questionnaire to any of Mr. McGuffin’s intimate partners. Secondly, it is unclear
how Ms. Amber could know, with any degree of reliability or validity, what beliefs Mr. McGuffin’s
intimate partners had about their relationships with him because their beliefs about their relationship
with him are not contained within the dataset Ms. Amber reviewed. In other words, how could Ms.
Amber know how these partners rated any of these items given the data she had? Finally, Ms.
Amber provided scores of 8, 9, and 10 on all of the 11 items. However, the scale only goes from 1
to 9. A score of 10 is not possible on any one item and yet Ms. Amber rated 6 of the 11 items as a
“10.”

        G. The next case assessment Ms. Amber uses is the Coercive Control Scale Individual-12
(CCSI-12). The instructions to the person taking the questionnaire are “Thinking about your group,
please respond to the following items (using the 9-1 scale below).” The questions appear to assess
the person’s thoughts and experiences related to some kind of group to which they belonged, likely
a cult or similarly controlling organization. In her description of the questionnaire, Ms. Amber does
not note that the questionnaire is designed to assess group-based dynamics rather than the dyadic
intimate partner coercive control she seeks to assess. Thus, the questionnaire is not appropriately
used in considering Mr. McGuffin’s behaviors or relationships because he is a single individual. As
discussed in point F above, Ms. Amber did not administer the questionnaire to anyone involved
with Mr. McGuffin and the nature of the items suggest she had little to no information that would
help her rate the scores in some summary manner. Further, Ms. Amber commits the same scoring
errors by rating 4 of the 12 items as a “10” when the scale end is 9.

        H. The third case assessment Ms. Amber purports to use is Jane Monckton Smith’s
homicide timeline assessment. It is unclear the nature and purpose of Ms. Amber’s inclusion of this
framework, as this timeline is used to describe the observable steps taken in how an intimate partner
homicide progresses from earlier stages. The timeline is designed to show potential warning signs
and points of intervention for law enforcement in domestically violent relationships before a
homicide can occur. However, Ms. Amber’s stated goal is to determine whether Mr. McGuffin
exhibits a pattern of coercive control. This analysis is problematic on many levels. First, only one
partner of Mr. McGuffin died via homicidal violence and Mr. McGuffin’s conviction for her death
was overturned. None of Mr. McGuffin’s other partners have reported that he has been physically
violent or coercive, much less engaged in homicidal violence. Secondly, Ms. Amber combines data
from across multiple partners and decades occurring after Ms. Freeman’s death as evidence
supporting her assertion that Mr. McGuffin killed, or was at least at risk to kill, Leah Freeman.




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There is no scientific basis to support that type of retrospective inference. There are no publications,
studies, or books that support Ms. Amber’s attempt to infer what happened to Ms. Freeman based
on an anecdotal, posthoc evaluation of Mr. McGuffin. Third, she appears to be guessing at some of
the stages, such as stage 4, and providing no information to support other stages (stage 6). Ms.
Amber indicated that Mr. McGuffin exhibited “definitive evidence of Stage 7 planning” although
she provides no data to support this. Further, her analysis of stage 8 fails to include that Mr.
McGuffin’s conviction was overturned.

        I. Because Ms. Amber relied only on the written materials provided to her by counsel who
retained her, she did not gather data that is central to determining whether or not coercive control is
present. Many researchers, including those cited by Ms. Amber, relied upon interviews with victims
and collateral sources (e.g. family members, peers, coworkers) to gather data related to intimate
partner violence and coercive control. Ms. Amber made no attempt to interview anyone and thus her
data was limited by the goals of the original data source. It is notable that the trial transcripts and
depositions she reviewed were not focused on coercive control elements, thus limiting the
availability of relevant information. Ms. Amber does not acknowledge these limitations of the
available data or how such limitations impact any researcher’s ability to form valid opinions.

        J. The research literature on coercive control is clearly limited to intimate partner
relationships as well as group-based control mechanisms such as cults. This is the literature that Ms.
Amber cites in her references and is the basis for the screening assessments and tools that Ms.
Amber used. However, Ms. Amber notably looks for elements of coercive control present in many
other forms of relationships without acknowledging that this is a deviation of her method from the
scientific literature. For example, she frequently references Mr. McGuffin’s relationships with the
parents of his romantic partners and his work relationship as evidence for her assertion that Mr.
McGuffin exhibits a pattern of coercive control. However, there is no scientific foundation given in
the available research, or the research that she cites, for including assessment of these non-intimate
partner relationships in her analysis.

         K. Of significant importance, Ms. Amber’s methodology combines data from across decades
and multiple developmental periods. She exhibited no recognition of the problem of reviewing Mr.
McGuffin’s behaviors in adolescence as well as decades later and opining that they represent a
unitary course of behavior. Of note, there is a very limited amount of published work on coercive
control among adolescents, none of which is cited or referenced in Ms. Amber’s materials.
However, there is a large body of literature on the neurodevelopmental changes that occur in
adolescence and young adulthood that document the changes in cognition, behavior, emotional
maturity, and relationships that occur during this period. Ms. Amber appears to be unaware of this
literature and dismissed the important distinction between adolescent and adult functioning during
her deposition. This reflects her lack of both scientific and clinical understanding of human
development and the importance of these concepts when looking at intimate, peer, and other
relationships.




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        L. Building on this same foundation, there is no scientific basis for Ms. Amber’s attempt to
infer previous behavior from future behavior. For example, Ms. Amber indicated on page 5 of her
report that her work,

         evaluates the characteristics and impacts of coercive control in both personal and
         professional relationships involving Mr. McGuffin. It specifically focuses on the
         repercussions of these power abuses on Leah Freeman, various associates at Legends, and
         their respective family members, colleagues, and friends.

The fundamental premise in Ms. Amber’s work is that Mr. McGuffin exhibited a pattern of coercive
control with Leah Freeman because she allegedly found evidence of coercive control in his
relationships with other people well after Ms. Freeman’s death. However, there is no merit nor
scientific foundation for suggesting that behaviors that Ms. Amber believes are present when Mr.
McGuffin is in his forties says anything about his behavior when he was 18 years old.

        M. In her CCCA, Ms. Amber documents tactics of coercive control that “include, but are not
limited to, isolation, intimidation, monitoring, control and humiliation, and are used by coercive
controllers because they provide abusers with numerous benefits” (p. 10 of her report). In the
immediately following section, Ms. Amber provides her reasoning for how she believes Mr.
McGuffin shows evidence of isolation and control from this list. However, she does not provide
evidence, for or against, the variables she identified as important: intimidation, monitoring, and
humiliation. It is unclear if 1) Ms. Amber omitted these factors of her analysis intentionally, 2) Ms.
Amber omitted these factors of her analysis unintentionally, or 3) some other reason. The omission
falls below the standards for a psychological evaluation or future dangerousness risk assessment.

        N. In her description of DARVO (Deny, Attack, Reverse Victim and Offender), Ms. Amber
appears to misattribute this theme to the facts of the case. Although DARVO is a pattern that
Harsey and Freyd (2020) have identified in two-person relationships that involve violence, Ms.
Amber only ever references DARVO in the context of Mr. McGuffin’s filing of the present lawsuit.
This is a misattribution of the literature about intimate partner violence to suggest that Mr.
McGuffin is victimizing the defendants by filing a lawsuit, a situation in which no interpersonal
violence is involved. Further, the act of filing of a lawsuit against the defendants does not inform in
any manner about Mr. McGuffin’s relationship with Leah Freeman when he was an adolescent.

        O. In her reported example of trauma-coerced attachment, Ms. Amber references an article
by Doychak and Raghavan from 2018. This is a qualitative study of 14 individuals who were sex-
trafficked and interviewed about the person(s) who sex-trafficked them. This study did not employ
any similar coercive control case analysis like Ms. Amber. Further, there are no allegations in any
of the data that Mr. McGuffin acted as a pimp or similar actor towards any of the women. Thus,
there is no basis to apply such an analysis in this case.

       P. There is a notable absence of any reference or citation to data that may be contrary to her
opinions. Ms. Amber only points out when she believes coercive control exists and does not note




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when it is absent. She only includes information presumed favorable to the parties who retained her.
An objective analysis of Mr. McGuffin’s relationships would show that he has no history of
stalking, threatening, or intimate partner violence, all key predictors she identified as part of
coercive control. This pattern of documenting only the presumed presence of coercive control
without acknowledging when it is absent suggests a bias for only looking for confirming
information and ignoring disconfirming data. This is called confirmation bias and appears readily
apparent in her lack of objective assessment of the available data.

        Q. As described above, Ms. Amber does not use any form of structured, evidence-based
procedure. She also does not evidence any procedure for considering alternative explanations for
the data she suggests is a pattern of coercive control, as required by the scientific literature in this
area. So for example, when Ms. Amber identifies two different behaviors from across multiple
decades, she labels this a pattern of coercive control without looking at the context, nature of the
relationship, and the difference/similarity of these behaviors to one another. In this manner, any
individual could have two episodes of a controlling behavior across multiple decades apart, but the
lack of structured, evidence-based procedure makes it difficult to understand if this is meaningful or
distinguishable from other more salient patterns of coercive control.

         R. The data gathered and used by Ms. Amber does not provide her an adequate foundation
to assess the goals for her report. For example, she asserts that Mr. McGuffin exhibited features of
coercive control against Maegan Edgerton where he had a pattern of trauma-coerced attachment,
intimidation and jealousy, and power imbalances in the relationship. However, Ms. Amber testified
that the only documents related to Ms. Edgerton that she reviewed included hospital medical
records for Mr. McGuffin and police reports related to a single incident where Ms. Edgerton
reportedly assaulted Mr. McGuffin. Ms. Amber did not review the deposition transcript of Ms.
Edgerton nor any other information pertaining to her. Thus, she had very limited information—
noting in her deposition that the hospital records were of little significance to her findings—to make
any findings related to the intimate partner relationship between Mr. McGuffin and Ms. Edgerton.
Despite this lack of foundation, Ms. Amber made conclusions that Mr. McGuffin exhibited
coercively controlling behaviors over Ms. Edgerton and did not identify any data to support her
conclusion. The scientific literature in this area does not support this type of analysis and, in fact,
rejects it. The literature clearly establishes that an evaluator is not permitted to draw conclusions in
absence of data.

        S. As a result of the absence of any structured method for gathering and analyzing data, Ms.
Amber has little framework for deciding which data points support her opinions. For example, in
her deposition testimony related to Mr. McGuffin and Ms. Edgerton, Ms. Amber testified that a
person filing charges against a partner, filing then dropping charges against a partner, or not filing
charges against a partner can all be tactics of coercive control. This definition of tactics of coercive
control is so overbroad that it becomes meaningless and suggests that all behaviors could be
evidence of coercive control in her view. Again, the scientific literature in this area does not support
Ms. Amber’s definition of coercive control or her conclusions.




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        T. Ms. Amber added an additional “professional opinion that any emotional distress,
psychological impact, and social consequences stemming from his conviction are the sole
responsibility of Mr. McGuffin.” However, whether or not Mr. McGuffin experienced emotional
distress stemming from his conviction is unrelated to an analysis of whether he exhibited coercively
controlling relationships. She did not describe any data that supported this claim other than her
belief that Mr. McGuffin was responsible for Leah Freeman’s death.

SOURCES OF BIAS
         A. Human cognition is fraught with cognitive shortcuts to limit the amount of information
that we take in from the environment for processing. While these may be useful in reducing
information overload and helping humans makes sense of the world around them, these cognitive
heuristics can influence our thinking in important ways. Because these can become even more
salient in the adversarial setting of the legal system, it is imperative that experts have awareness of
these influences and take steps to mitigate the influence of such biases.

        B. As described in the section above, Ms. Amber exhibits a pervasive pattern of
confirmation bias in her methodology and conclusions. Confirmation bias occurs when we seek
information that confirms our existing beliefs and reject information that disconfirms our existing
beliefs. It is notable that Ms. Amber does not point out, based on the available data, the relative
dearth of information that suggests Mr. McGuffin had a coercively controlling relationship with any
intimate partners. The lack of structured, scientifically-validated approach Ms. Amber uses allows
for her confirmation bias to pick and choose the pieces of data that are most relevant to her pre-
existing beliefs and disregard those that are not. Structured methods, validated by scientific
procedure, are often useful to combat this type of confirmation bias, and, as discussed above, Ms.
Amber did not use any of those methods here. Additionally, Ms. Amber’s use of questionnaires in
idiosyncratic ways further allows for confirmation bias to influence the data gathered and reported.

        C. Relatedly, forensic experts have to be aware of adversarial allegiance, the tendency to
make findings favorable to the retaining party. This concept is well-studied in many forensic
domains. In Ms. Amber’s work, her opinions align with defendants’ stance in a near complete
manner. Ms. Amber opines that all of Mr. McGuffin’s relationships demonstrate coercive control,
even those with family members of intimate partners, work colleagues, and the defendants, even
when there is no explicit evidence to support these claims. She does not present any data or
opinions that are unfavorable or neutral with respect to defendants. Because of her lack of
structured, validated measures, her data gathering processes and subsequent opinions are highly
vulnerable to this bias.

        D. Further, Ms. Amber appears highly affected by task-irrelevant contextual information.
This is a well-documented source of bias in forensic science contexts where a decision-maker is
influenced by information that is not germane to the central analysis. There can be a tendency to use
and weigh this extraneous information in a way that clouds the decision-maker’s judgment. Ms.
Amber includes multiple data points that appear irrelevant to the nature of coercive control in her
CCCA. For example, in both her report and her deposition, Ms. Amber appears fixated on Mr.




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McGuffin’s use of the term exoneration when he met with psychologist Suzanne Best. This reported
communication between Mr. McGuffin and Dr. Best occurred 1) well after his relationship with
Leah Freeman and 2) outside the context of any intimate partner relationships, and is thus irrelevant
to coercive control. Ms. Amber then suggests that Mr. McGuffin’s use of this terminology during a
forensic psychological examination indicates he is manipulative and untruthful and Dr. Best’s
conclusions cannot be trusted. There is no scientific literature that supports the premise that an
evaluator can tell whether a subject is truthful or trustworthy. These are not opinions that are
typically offered in the type of evaluation that Ms. Amber claims to have conducted.

COMPETENCY
        A. Ms. Amber’s educational trajectory is unique. She completed a specialty master’s degree
in coercive control at the University of Salford in 2023. Per the program’s website, this includes
four modules (courses) and a dissertation research project, all of which can be completed in one
year of fulltime instruction or two years of parttime instruction. The program is designed for
individuals with a bachelor’s degree in psychology or a related profession. However, Ms. Amber
does not have a bachelor’s degree in psychology or a related subject. Instead, she earned a
bachelor’s degree in General Studies in 1991. The equivalent of one year of full-time instruction in
an online master’s program appears to be the sole basis for her expertise in this case.

        B. Her master’s degree program of instruction is somewhat limited. Most master’s programs
in mental health subjects are the equivalent of two years of fulltime instruction. Thus, the master’s
program she earned does not include a similar level of content as other master’s programs that
require more extensive coursework, practicum training, and research.

         C. Ms. Amber’s work and reported expertise in coercive control is new and obtained only in
the last few years. Prior to this, she reported work as a master photographer for many years. She has
attended many trainings related to coercive control and allied subjects, but these were merely
didactic trainings that did not provide any form of graded coursework, supervision, or mentorship.
This is germane to the present case in that Ms. Amber’s current expert work appears based only on
the equivalent of one year of graduate training and it is unclear whether she has received any
specific training or supervision in the methods she purports to use in her report related to Mr.
McGuffin.

        D. Ms. Amber’s exposure to coercive control started through her lived experience and she
has participated in many advocacy-based meetings and groups. This is important work. Ms. Amber
demonstrated difficulty distinguishing between the advocacy-based nature of reducing coercive
control and related harms and what should be an objective, neutral evaluation of data for a court
case.

SUMMARY
Ms. Amber’s methods for arriving at her conclusions appear idiosyncratic, untested, and not
available in the published literature on coercive control or intimate partner violence more generally.
Her analytic strategies were developed by her and applied in an unsystematic, unscientific, and at




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times illogical manner. Her assessment of coercive control by Mr. McGuffin was overbroad to the
point of being neither helpful nor useful. She included any potential sign of maladaptive behavior
by Mr. McGuffin as evidence of coercive control due to her lack of structured, evidence-based
assessment methods. Further, she continuously suggested that Mr. McGuffin’s behaviors after Ms.
Freeman’s death were somehow related to his behavior with Ms. Freeman, even though there was
no data to support these conclusions and no scientific basis to form such an opinion absent such
data. Ms. Amber does not employ evidence-based research methods to develop or support the
conclusions expressed in her report. Her work is fraught with multiple forms of bias that impair her
data gathering process, and her objectivity in reaching her conclusions, and she has not taken the
necessary steps to mitigate bias that are well-accepted in this field.



Thank you for the opportunity to work on this case. Please let me know if I can provide additional
information or assistance.




____________________________________
Michelle R. Guyton, Ph.D., ABPP
Board Certified in Forensic Psychology
Certified Forensic Evaluator (Oregon)
Licensed Psychologist, OR # 1829
Licensed Psychologist, WA #PY61127557
Northwest Forensic Institute, LLC
Director, Oregon Forensic Evaluator Training Program




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                                     APPENDIX A: RECORDS REVIEWED

Records included in Ms. Amber’s report also reviewed by me
   1. Incident Report P2100620, current as of date 03/23/2010 (pages 5 to 10 of report)
   2. Direct testimony of Cory Courtright (Exhibit H at pages 1 through 6)
   3. Memorandum of Mark Nortness, Coquille High School vice principal, dated 05/17/2000
   4. Coquille High School Behavioral Record for Nick McGuffin dated 08/04/2000
   5. Direct testimony of Kristen Steinhoff-Ramsey (Exhibit I at pages 1 through 6)
   6. Exhibit 502 pages 1 to 4
   7. Email exchange between Patrick J. Kelly and Fred Bornhofen dated 11/10/2009 and
       11/18/2009
   8. Analysis of Nick McGuffin’s statement by Mark McClish dated 11/15/2009
   9. Keppel, R. D. & Walter, R. (1999). Profiling killers: A revised classification model for
       understanding sexual murder. International Journal of Offender Therapy and Comparative
       Criminology, 43(3), 417-437.
   10. Ressler, R.K., Muller, T. P., Osterheider, M. (undated) Understand ithe patterns and motives
       of violent sexual offenders. Unpublished abstract.
   11. Walter, R. D., (undated). Non-sexual murder and violent crimes, unpublished paper
   12. Independent psychological evaluation of Nichael McGuffin by Suzanne Best, Ph.D., dated
       02/20/2024
   13. Curriculum vitae of Suzanne R. Best, Ph.D.
   14. Bay Area Hospital records for Nicholas McGuffin, dated 06/12/2002 to 06/17/2002
   15. Grand Jury testimony of Megan Davidson (Exhibit J at pages 1 to 14)
   16. Direct testimony of Melissa Smith (Exhibit K at pages 1 to 8)
   17. Exhibit F at pages 1 to 15
   18. Coquille Valley Hospital Emergency Room record for Nicholas McGuffin, dated 2000 to
       2003
   19. Coos County Circuit Court Conditional Release Agreement for Megan Edgerton, dated
       08/16/2006
   20. Bandon Police Department records (case number BN06-3415)
   21. Deposition transcript of Nicholas McGuffin, dated 01/12/2023
   22. Deposition transcript of Jazmin Spinney, dated 07/07/2023
   23. Deposition transcript of Abbigail Beckham, dated 07/07/2023
   24. Deposition transcript of Aleksandra Djeric, dated 12/11/2023
   25. Deposition transcript of Lisa Marie Bartholomew, dated 12/12/2023
   26. Exhibit G at pages 1 to 83 (text messages)
   27. Text messages purportedly between Nicholas McGuffin and Georgia Bartholomew
   28. Deposition transcript of Georgia Bartholomew, dated 12/13/2023
   29. Multnomah County Circuit Court records (case number 24CR37869) and related police
       reports
   30. Summary of emerging themes: Interview with           S.M.       by Melissa Noel, Ph.D.
   31. Curriculum vitae of Melissa E. Noel, Ph.D.
   32. Notes from meeting with S.M. via Zoom on 10/29/2023




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    33. Parent-adolescent relationship scale
    34. Notes from Zoom meeting with Nick McGuffin, dated 11/20/2023
    35. Strengths and Difficulties Questionnaire completed by        S.M.
    36. Psychological evaluation of        S.M.       by Julie Poehlman, Ph.D., 12/27/2023
    37. Curriculum vitae of Julie Poehlman, Ph.D.
    38. Semi-structured interview guide by Melissa Noel, Ph.D.
    39. Notes from interview with SM dated 10/22/2023
    40. Notes from interview with Nicholas McGuffin by Suzanne Best, Ph.D.
    41. Deposition transcript of Suzanne Best, Ph.D., dated 12/11/2024
    42. Employee Employment/Separation Review for Nicholas McGuffin from Legends Bar and
        Grill, dated 03/31/2023
    43. Malheur County Post-Conviction General Judgment (case number 15CV1030), dated
        11/26/2019
    44. Clackamas County Circuit Court Supplemental First Amended Complaint (case number
        22CV07337)
    45. Deposition transcript of Jacob Shafer, dated 09/25/2023
    46. Email from Mason Martin to Nicky Young, dated 12/16/2022

Additional sources
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  3. Campbell, J., et al (2003). Risk factors for femicide in abusive relationships: Results from a
       multisite case control study. American Journal of Public Health, 93, 1089-1097.
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       victims of sex trafficking. Journal of Human Trafficking, 6(3), 339-357.
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       what is the influence on perceived perpetrator and victim credibility? Journal of Aggression,
       Maltreatment & Trauma, 29(8), 897-916.
  7. Dror, I. E. (2017). Human expert performance in forensic decision making: seven different
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  8. Hassan, S. A. (2020). The BITE model of authoritarian control: Undue influence, thought
       reform, brainwashing, mind control, trafficking and the law. Fielding Graduate University.
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  10. Monckton Smith, J. (2021).Control in Dangerous Relationships and How they End in
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    11. Monckton Smith, J. (2020). Intimate partner femicide: Using Foucauldian analysis to track
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        1285.
    12. Myhill, A., & Hohl, K. (2019). The “Golden Thread:” Coercive control and risk assessment
        for domestic violence. Journal of Interpersonal Violence, 34(21-22), 4477-4497.
    13. Stark, E. (2007). Coercive Control: How Men Entrap Women in Personal Life. Oxford
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